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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. 2:21-cv-06606-RGK                                        Date October 27, 2021

Title: Lamont Devault v. United States of America

Present: The Honorable R. Gary Klausner, United States District Judge




                  S. Williams                                          Not Reported
                Deputy Clerk                                     Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
Not Present                                        Not Present




Proceedings:    G In Court          ✘ In Chambers
                                    G                   G Counsel Notified

G Case previously closed in error. Make JS-5.

✘ Case should have been closed on entry dated 09/24/2021 [5]
G                                                                        .

G Case settled but may be reopened if settlement is not consummated within                        days.
  Make JS-6.

✘ Other Make JS-6
G

G Entered                                  .




                                                                  Initials of Preparer       sw




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
